Case 2:23-cv-01774-JDC-TPL Document 1-7 Filed 12/19/23 Page 1 of 6 PageID #: 50




                         EXHIBIT 7
                           Case 2:23-cv-01774-JDC-TPL Document 1-7 Filed 12/19/23 Page 2 of 6 PageID #: 51


                                                                                                                          Drew Ensign <drewensignlaw@gmail.com>



Fwd: EPA-2023-005099 Follow-Up and Proposed Clarification
St. John, Joseph <StJohnJ@ag.louisiana.gov>                                                                                       Fri, Nov 24, 2023 at 6:40 AM
To: "Giddings, Daniel" <giddings.daniel@epa.gov>, Drew Ensign <drewensignlaw@gmail.com>, "Creech, Christopher (he/him/his)" <Creech.Christopher@epa.gov>,
"Dykeman, Denise (she/her/hers)" <Dykeman.Denise@epa.gov>, "Stein, Jonathan" <Stein.Jonathan@epa.gov>, "Hoang, Anhthu" <Hoang.Anhthu@epa.gov>
Cc: "Johnson, Laura-S" <Johnson.Laura-S@epa.gov>, "Khan, Zahra" <Khan.Zahra@epa.gov>, "Gebrewold, Besrat" <Gebrewold.Besrat@epa.gov>


 Mr. Giddings:



 We are extremely disappointed with your email. By way of background, we discussed document search issues in an August 30 telephone call, which Drew Ensign--
 Louisiana’s outside counsel--summarized in an October 10 email follow-up:



         [I]f there are any issues with the search terms that we discussed on the August 30 call, we ask that you let us know within the next week. On our August 30
         call, you had indicated that you would let us know if you were encountering any issues with the search terms and anticipated an iterative process if the
         terms were creating too many hits. Because we have not heard from you regarding those search terms, we assume that they are sufficiently narrow to
         facilitate an on-time production.



 In his October 10 email, Mr. Ensign also asked “that you confirm that you will be able to complete production by December 1, as your August 25 letter indicated,” or,
 “if that is no longer the case … let us know promptly so that we can evaluate whether we need to seek relief.” On October 17, you responded and stated that EPA
 had “completed the search and collection steps for [Louisiana’s] request.” So EPA plainly knew at that point—over a month ago--the volume of potentially
 responsive documents. You nevertheless confirmed that “December 1, 2023 remains [the] estimated date of completion.”



 Now, less than 10 days before EPA’s self-set extended deadline, EPA declares that it needs yet more time, there will be “batches” of production, and it needs an
 extension to December 8 to even produce the first batch of documents.



 We recognize that documents responsive to this FOIA request will inevitably paint EPA and its senior officials in an extremely negative light. Undoubtedly, that’s why
 EPA is imposing an “additional internal 72 hour review requirement.” At that’s undoubtedly why EPA is keeping But neither of those is an exemption from the FOIA.



 Please confirm by COB Monday, November 27, that all responsive documents will be produced no later than December 8. Louisiana reserves the right to seek
 appropriate relief if EPA does anything other than unequivocally agree.
                            Case 2:23-cv-01774-JDC-TPL Document 1-7 Filed 12/19/23 Page 3 of 6 PageID #: 52
Best regards,

Scott




From: Giddings, Daniel <giddings.daniel@epa.gov>
Sent: Wednesday, November 22, 2023 1:58 PM
To: Drew Ensign <drewensignlaw@gmail.com>; Creech, Christopher (he/him/his) <Creech.Christopher@epa.gov>; Dykeman, Denise (she/her/hers)
<Dykeman.Denise@epa.gov>; Stein, Jonathan <Stein.Jonathan@epa.gov>; Hoang, Anhthu <Hoang.Anhthu@epa.gov>
Cc: St. John, Joseph <StJohnJ@ag.louisiana.gov>; Johnson, Laura-S <Johnson.Laura-S@epa.gov>; Khan, Zahra <Khan.Zahra@epa.gov>; Gebrewold, Besrat
<Gebrewold.Besrat@epa.gov>
Subject: RE: EPA-2023-005099 Follow-Up and Proposed Clarification



CAUTION: This email originated outside of Louisiana Department of Justice. Do not click links or open attachments unless you
recognize the sender and know the content is safe.
Mr. Ensign,



FOIA Request EPA-2023-005099 produced a large volume of potentially responsive documents such that we have had to secure additional contract support to
review. Due to the large volume of documents produced, we plan on making these releases available to you in batches. Unfortunately, the first batch as it currently
exists won’t be available until December 4th or 5th due to an additional internal 72 hour review requirement. If you were amenable to a one week extension from
December 1 to December 8 for the first batch, we can both expand the number of documents in the first batch beyond what we have now AND get the additional
documents through the internal review requirement.



Upon release of the first batch we should discuss deadlines for the release of subsequent batches. We appreciate your flexibility as we work to get you access to as
many of these documents as quickly as possible.



Have a happy holiday this week!



Best,



Danny Giddings (he/him/his)
Staff Officer (formerly known as Chief of Staff)
                            Case 2:23-cv-01774-JDC-TPL Document 1-7 Filed 12/19/23 Page 4 of 6 PageID #: 53
Office of Environmental Justice and External Civil Rights

202-768-2100




From: Giddings, Daniel
Sent: Tuesday, October 17, 2023 3:12 PM
To: Drew Ensign <drewensignlaw@gmail.com>; Creech, Christopher (he/him/his) <Creech.Christopher@epa.gov>; Dykeman, Denise (she/her/hers)
<Dykeman.Denise@epa.gov>; Stein, Jonathan <Stein.Jonathan@epa.gov>; Hoang, Anhthu <Hoang.Anhthu@epa.gov>
Cc: St. John, Joseph <StJohnJ@ag.louisiana.gov>
Subject: RE: EPA-2023-005099 Follow-Up and Proposed Clarification



Mr. Ensign,



Thank you for your email. We have completed the search and collection steps for your request. The next step is to complete the responsiveness and privilege
review of the records and then produce them to you. At this point, December 1, 2023 remains your estimated date of completion. We will update you if that
changes. Please don’t hesitate to reach out if you have questions.



Best,



Danny Giddings (he/him/his)
Staff Officer (formerly known as Chief of Staff)

Office of Environmental Justice and External Civil Rights

202-768-2100




From: Drew Ensign <drewensignlaw@gmail.com>
Sent: Tuesday, October 10, 2023 2:33 PM
To: Giddings, Daniel <giddings.daniel@epa.gov>; Creech, Christopher (he/him/his) <Creech.Christopher@epa.gov>; Dykeman, Denise (she/her/hers)
<Dykeman.Denise@epa.gov>; Stein, Jonathan <Stein.Jonathan@epa.gov>
Cc: St. John, Joseph <StJohnJ@ag.louisiana.gov>
Subject: Re: EPA-2023-005099 Follow-Up and Proposed Clarification
                          Case 2:23-cv-01774-JDC-TPL Document 1-7 Filed 12/19/23 Page 5 of 6 PageID #: 54

    Caution: This email originated from outside EPA, please exercise additional caution when deciding whether to open attachments or click on provided links.




Hi all,



We wanted to check in regarding the status of this FOIA request (EPA-2023-005099). Our understanding from our August 30 call was that the production would be
on a rolling basis, but we have yet to receive any documents--or even any information about whether the search terms produced manageable numbers of hits.



Can you please give us an update as to the status of the production and when we can expect to start receiving documents?



In addition, if there are any issues with the search terms that we discussed on the August 30 call, we ask that you let us know within the next week. On our August
30 call, you had indicated that you would let us know if you were encountering any issues with the search terms and anticipated an iterative process if the terms
were creating too many hits. Because we have not heard from you regarding those search terms, we assume that they are sufficiently narrow to facilitate an on-time
production.



We also request that you confirm that you will be able to complete production by December 1, as your August 25 letter indicated. Alternatively, if that is no longer the
case, we ask that you let us know promptly so that we can evaluate whether we need to seek relief as appropriate.



Sincerely,

Drew




   From: giddings.daniel@epa.gov
   Date: August 25, 2023 at 3:51:05 PM CDT
   To: "St. John, Joseph" <StJohnJ@ag.louisiana.gov>
   Cc: Creech.Christopher@epa.gov, dykeman.denise@epa.gov, Stein.Jonathan@epa.gov
   Subject: EPA-2023-005099 Follow-Up and Proposed Clarification

   ﻿CAUTION: This email originated outside of Louisiana Department of Justice. Do not click links or open attachments unless you recognize the sender and know
   the content is safe.
                           Case 2:23-cv-01774-JDC-TPL Document 1-7 Filed 12/19/23 Page 6 of 6 PageID #: 55

  Dear Mr. Joseph S. St. John:

  Good afternoon. I hope this finds you and yours all well and safe from the fires out that way. A truly concerning situation!

  Thank you for meeting with us earlier this week. As promised, I've drafted a letter that hopefully captures what we discussed.

  I look forward to discussing further with you next week to confirm the parameters of the request and the search.

  Best,

  Denise



  The information contained in this transmission may contain privileged and confidential information. It is intended only for the use of the person(s) named above. If
  you are not the intended recipient, you are hereby notified that any review, dissemination, distribution or duplication of this communication is strictly prohibited. If
  you are not the intended recipient, please contact the sender by reply e-mail and destroy all copies of the original message.
  The information contained in this transmission may contain privileged and confidential information. It is intended only for the use of the person(s) named above. If
  you are not the intended recipient, you are hereby notified that any review, dissemination, distribution or duplication of this communication is strictly prohibited. If
  you are not the intended recipient, please contact the sender by reply e-mail and destroy all copies of the original message. To reply to our e-mail administrator
  directly, please send an e-mail to postmaster@ag.state.la.us.

The information contained in this transmission may contain privileged and confidential information. It is intended only for the use of the person(s)
named above. If you are not the intended recipient, you are hereby notified that any review, dissemination, distribution or duplication of this
communication is strictly prohibited. If you are not the intended recipient, please contact the sender by reply e-mail and destroy all copies of the
original message.
The information contained in this transmission may contain privileged and confidential information. It is intended only for the use of the person(s) named above. If
you are not the intended recipient, you are hereby notified that any review, dissemination, distribution or duplication of this communication is strictly prohibited. If
you are not the intended recipient, please contact the sender by reply e-mail and destroy all copies of the original message. To reply to our e-mail administrator
directly, please send an e-mail to postmaster@ag.state.la.us.
